                    IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF IOWA
                             WESTERN DIVISION



 UNITED STATES OF AMERICA,
                Plaintiff,                             No. CR05-4084-MWB
 vs.                                         ORDER ACCEPTING MAGISTRATE
                                                  JUDGE’S REPORT AND
 REYNALDO MALDONADO, a/k/a
                                             RECOMMENDATION REGARDING
 Edifredo Maldonado, a/k/a Eddy,
                                               DEFENDANT’S GUILTY PLEA
                Defendant.
                                ____________________

                       I. INTRODUCTION AND BACKGROUND
         On August 23, 2005, a superseding indictment was returned against defendant
Reynaldo Maldonado, charging defendant with: conspiring to distribute and possess with
intent to distribute 50 grams or more of pure methamphetamine and to distribute and
possess with intent to distribute 50 grams or more of pure methamphetamine within 1000
feet of a park, in violation of 21 U.S.C. §§ 841(a)(1), 841(b)(1)(A), 860(a) and 846;
distributing 13.95 grams of methamphetamine within 1000 feet of a park, in violation of
21 U.S.C. §§ 841(a)(1), 841(b)(1)(C), and 860(a); distributing 24.13 grams of
methamphetamine within 1000 feet of a park, in violation of 21 U.S.C. §§ 841(a)(1),
841(b)(1)(B), and 860(a); distributing 192.37 grams of methamphetamine, in violation of
21 U.S.C. §§ 841(a)(1) and 841(b)(1)(A); and, knowingly completing a false employment
eligibility verification form, known as an I-9, to secure employment, in violation of 18
U.S.C. § 1546(b). On November 28, 2005, defendant appeared before United States
Magistrate Judge Paul A. Zoss and entered a plea of guilty to Counts 1, 2, 3, 4, and 7 of
the superseding indictment.     On this same date, Judge Zoss filed a Report and
Recommendation in which he recommends that defendant’s guilty plea be accepted. No




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objections to Judge Zoss’s Report and Recommendation were filed. The court, therefore,
undertakes the necessary review of Judge Zoss’s recommendation to accept defendant’s
plea in this case.


                                     II. ANALYSIS
       Pursuant to statute, this court’s standard of review for a magistrate judge’s Report
and Recommendation is as follows:
              A judge of the court shall make a de novo determination of
              those portions of the report or specified proposed findings or
              recommendations to which objection is made. A judge of the
              court may accept, reject, or modify, in whole or in part, the
              findings or recommendations made by the magistrate [judge].

28 U.S.C. § 636(b)(1). Similarly, Federal Rule of Civil Procedure 72(b) provides for
review of a magistrate judge’s Report and Recommendation on dispositive motions and
prisoner petitions, where objections are made, as follows:
              The district judge to whom the case is assigned shall make a de
              novo determination upon the record, or after additional
              evidence, of any portion of the magistrate judge’s disposition
              to which specific written objection has been made in
              accordance with this rule. The district judge may accept,
              reject, or modify the recommended decision, receive further
              evidence, or recommit the matter to the magistrate judge with
              instructions.
FED. R. CIV. P. 72(b).
       In this case, no objections have been filed, and it appears to the court upon review
of Judge Zoss’s findings and conclusions, that there is no ground to reject or modify them.
Therefore, the court accepts Judge Zoss’s Report and Recommendation of November 28,
2005, and accepts defendant’s plea of guilty in this case to Counts 1, 2, 3, 4 and 7 of the
superseding indictment.


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  IT IS SO ORDERED.
  DATED this 14th day of December, 2005.




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